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                                  UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                                  www.flsb.uscourts.gov

       In re: Oscar Alechvargas                                           Case No. 18-17727-LMI
              Yaima Alechvargas
                                                                          Chapter 13
                                Debtor(s)     /

                                             OBJECTION TO CLAIM

                                    IMPORTANT NOTICE TO CREDITOR:
                                  THIS IS AN OBJECTION TO YOUR CLAIM

               This objection seeks either to disallow or reduce the amount or change the
        priority status of the claim filed by you or on your behalf. Please read this objection
        carefully to identify which claim is objected to and what disposition of your claim is
        recommended.

               If you disagree with the objection or the recommended treatment, you must
        file a written response WITHIN 30 DAYS from the date of service of this objection,
        explaining why your claim should be allowed as presently filed, and you must serve
        a copy to the undersigned [attorney][trustee] OR YOUR CLAIM MAY BE DISPOSED
        OF IN ACCORDANCE WITH THE RECOMMENDATION IN THIS OBJECTION.

              If your entire claim is objected to and this is a chapter 11 case, you will not
        have the right to vote to accept or reject any proposed plan of reorganization until
        the objection is resolved, unless you request an order pursuant to Bankruptcy Rule
        3018(a) temporarily allowing your claim for voting purposes.

               The written response must contain the case name, case number, and must be
        filed with the Clerk of the United States Bankruptcy Court.

                 301 North Miami Avenue, Room 150, Miami, FL 33128

        Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1, Debtor objects to the following claim(s)
        filed in this case:
        Claim                                                               Amount of
        No.              Name of Claimant                                   Claim

        15              PORTFOLIO RECOVERY ASSOCIATES, LLC                      $10,851.98
                         Capital One, N.A.

        Basis for Objection and Recommended Disposition

        On or about September 4, 2018, Creditor filed a secured proof of claim in the amount of $10,851.98
        with a secured portion of $7,235.00 and a general unsecured portion of $3,616.98 for a KAWASAKI
        BRUTE FORCE 750 4X4I EPS 2015. Undersigned communicated with the Creditor prior to the filing
        of this objection but has not received a response to resolve this claim. Debtors will surrender the
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        collateral and request that the claim be allowed as filed, but without any distributions from the
        Chapter 13 Trustee on the unsecured portion.

        Claim                                                                      Amount of
        No.             Name of Claimant                                           Claim

        3               Santander Consumer USA, Inc. dba                           $28,807.30
                        Chrysler Capital

        Basis for Objection and Recommended Disposition

        On or about July 20, 2018, Creditor filed a secured proof of claim in the amount of $28,807.30 with a
        secured portion of $25,675.00 and a general unsecured portion of $3,132.30 for a 2015 FORD TRU
        F250 SUPER D. Said creditor will be paid outside the plan and directly to the Creditor. Debtor
        requests the claim be allowed as filed with no distribution from the Chapter 13 Trustee.

        WHEREFORE the above-mentioned Debtor, respectfully requests that the Court grant the relief
        sought herein.
        *Notwithstanding the requirements of Bankruptcy Rule 3007, up to five objections to claim may be
        included in one pleading. (See Local Rule 3007-1(C).)

                                           CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that a true copy of the foregoing was sent on May 13, 2019 electronically to
        Nancy K. Neidich, Trustee and mailed to:

        *Denotes CERTIFIED MAIL

        Chrysler Capital
        c/o Amy Hudson, BK Spec.
        PO Box 961275
        Fort Worth, TX 76161

        Santander Consumer USA
        c/o Amy Hudson, BK Spec.
        PO Box 961275
        Fort Worth, TX 76161

        *Santander Consumer, USA, Inc
        c/o CEO Scott Powell
        1601 Elm Street, Suite 800
        DALLAS, TX 75201

        Portfolio Recovery Associates, LLC
        c/o Erin M. Lazek, BK Rep.
        POB 41067
        Norfolk VA 23541

        PORTFOLIO RECOVERY ASSOCIATES, LLC
        c/o Graves, Christopher Barclay, President
        120 CORPORATE BLVD., Suite 100
        NORFOLK, VA 23502




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        PRA RECEIVABLES MANAGEMENT, LLC
        c/o Andrew, Berardi, President
        130 CORPORATE BLVD.
        NORFOLK, VA 23502
                                       CERTIFICATE OF ADMISSION

                I HEREBY CERTIFY that I am a member of the Bar of the United States District Court for the
        Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court
        set forth in Local Rule 2090-1(A).
                                                                  Respectfully Submitted:

                                                                  Robert Sanchez, P.A.
                                                                  Attorney for Debtor
                                                                  355 West 49th Street
                                                                  Hialeah, FL 33012
                                                                  Tel. 305-687-8008
                                                                  Fax. 305-512-9701

                                                                  By: /s/ Robert Sanchez________________
                                                                     [X]Robert Sanchez, Esq., FBN#0442161

        The party filing this objection to claim must file a certificate of service in accordance with Local Rule 2002-
        1(F).




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